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                            EXHIBIT 5
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From:                James Bryant
To:                  Lowell, Abbe David
Cc:                  Kramer, Ross M.
Subject:             RE: COMMON INTEREST PRIVILEGE, JOINT DEFENSE PRIVILEGE
Date:                Friday, September 14, 2018 2:39:32 PM
Attachments:         Image-1.png
                     IMG 0666.png
                     IMG 0667.png


Abbe:

Please see three screen shots of text conversations relating to Pras. Again they are very limited and I
do not see any issue with them.

Thanks,

James A. Bryant II
The Cochran Firm - California
4929 Wilshire Blvd Suite 1010
Los Angeles, CA 90010
Ph.                Cell                 Fax.                Jbryant

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